          Case 1:23-cv-00029-N/A Document 7          Filed 02/21/23   Page 1 of 9




               UNITED STATES COURT OF INTERNATIONAL TRADE


     APB Trading, LLC; Cosmos Granite (West)
     LLC; Cosmos Granite (South East) LLC;
     Cosmos Granite (South West) LLC; Curava
                                                             Court No. 23-00029
     Corporation; DivyaShakti Granites Limited;
     DivyaShakti Limited; Marudhar Rocks                     Complaint
     International PVT Ltd; Overseas Manufacturing
     and Supply Inc. d/b/a Merrimack Stone
     Industries; Quartzkraft LLP; and Stratus
     Surfaces LLC


                   Plaintiffs


     v.


     UNITED STATES,


                   Defendant.


                                  COMPLAINT

      Plaintiffs APB Trading, LLC; Cosmos Granite (West) LLC; Cosmos

Granite (South East) LLC; Cosmos Granite (South West) LLC; Curava

Corporation; DivyaShakti Granites Limited; DivyaShakti Limited; Marudhar

Rocks International PVT Ltd; Overseas Manufacturing and Supply Inc. d/b/a

Merrimack Stone Industries; Quartzkraft LLP; and Stratus Surfaces LLC, by and

through their attorneys, alleges and states the following claims against the

defendant United States.
          Case 1:23-cv-00029-N/A Document 7      Filed 02/21/23   Page 2 of 9

APB Trading, LLC et al v. United States
Court No 23-00029
February 21, 2023
Page 2

                                 JURISDICTION

       1. This action is brought pursuant to the authority of 19 U.S.C.

 §1516a(a)(2)(A)(i)(I), 19 U.S.C. §1516a(a)(2)(B)(iii), and 28 U.S.C. §1581(c) to

 contest the final results issued by the United States Department of Commerce,

 International Trade Administration (ITA) in the §751 administrative review of,

 Certain Quartz Products from India as amplified by the Issues and Decision

 Memorandum for the Final Results, which was incorporated by reference in the

 Final Results Federal Register notice published at 88 Fed. Reg. 1,188 (January 9,

 2023).

      2. The United States Court of International Trade has exclusive jurisdiction

 over this action pursuant to 28 U.S.C. §1581(c) because the action is commenced

 under §516A of the Tariff Act of 1930, 19 U.S.C. §1516a.

                                   STANDING

       3. Plaintiffs APB Trading, LLC; Cosmos Granite (West) LLC; Cosmos

 Granite (South East) LLC; Cosmos Granite (South West) LLC; Curava

 Corporation; Overseas Manufacturing and Supply Inc. d/b/a Merrimack Stone

 Industries; and Stratus Surfaces LLC are U.S. importers of subject merchandise

 and actively participated in the administrative review underlying this Court action.

 Plaintiffs DivyaShakti Granites Limited; DivyaShakti Limited; Marudhar Rocks
            Case 1:23-cv-00029-N/A Document 7   Filed 02/21/23   Page 3 of 9

APB Trading, LLC et al v. United States
Court No 23-00029
February 21, 2023
Page 3

 International PVT Ltd; and Quartzkraft LLP Indian producers and exporters of

 subject merchandise and actively participated in the administrative review

 underlying this Court action.

        4. Pursuant to 19 U.S.C. §1516a(2), all plaintiffs are interested parties as

 defined in 19 U.S.C. §1677(9)(A) as all plaintiffs were parties to the proceeding

 in connection with which this matter arises.

       5. Plaintiffs have standing under 28 U.S.C. §2631(c) to commence

this action.

                      TIMELINESS OF THIS ACTION

       6. Plaintiffs commenced this action by filing a Summons with this Court on

 February 8, 2023, which was within thirty days after the date of the publication of

 the final results in the Federal Register. Plaintiffs are filing this complaint on

 February 24, 2023, which is within thirty days from the date of the filing of the

 Summons in accordance with Rule 6(a)and satisfies the timeliness requirement in

 accordance with 19 U.S.C. §1516a(a)(2)(A).

                            STANDARD OF REVIEW

       7.      This Court reviews final determinations issued by Commerce pursuant

to 19 U.S.C. §1675(a) to determine whether they are “unsupported by substantial

evidence on the record, or otherwise not in accordance with law.” 19
           Case 1:23-cv-00029-N/A Document 7    Filed 02/21/23   Page 4 of 9

APB Trading, LLC et al v. United States
Court No 23-00029
February 21, 2023
Page 4

U.S.C.§1516a(b)(1)(B)(i).

                      THE ADMINISTRATIVE PROCESS

      7.      On June 1, 2021, Commerce published an opportunity for interested

parties to seek administrative review of the AD order. Antidumping or

Countervailing Duty Order, Finding, or Suspended Investigation; Opportunity to

Request Administrative Review, 86 Fed. Reg. 29,240 (June 1, 2021). Following

requests from interested parties, Commerce initiated the first administrative review

of imports of QSP from India during the POR. Initiation of Antidumping and

Countervailing Duty Administrative Reviews, 86 Fed. Reg. 41,821, 41,823 (Aug. 3,

2021). On September 28, 2021, Commerce selected Antique and Pokarna as

mandatory respondents in the first administrative review. Respondent Selection

Memorandum (Dep’t Commerce Sept. 28, 2021).

      8.      Between November 3, 2021 and July 12, 2022, interested parties

submitted responses to the Department’s questionnaires.

      9.      On July 1, 2022 the Department issued its preliminary results and

caused them to be published in the Federal Register on July 8, 2022. (Certain

Quartz Surface Products from India: Preliminary Results of Antidumping Duty

Administrative Review and Partial Rescission of Antidumping Duty Administrative

Review; 2019-2021, 87 Fed. Reg. 40,7886 (July 8, 2022). In this determination, the
         Case 1:23-cv-00029-N/A Document 7        Filed 02/21/23   Page 5 of 9

APB Trading, LLC et al v. United States
Court No 23-00029
February 21, 2023
Page 5

Department assigned a rate of 161.56% for the non-selected respondents, including

the exporters and suppliers of importers, the interested parties to this complaint. for

the administrative review.

      10.    Plaintiffs filed case briefs on August 17, 2022 urging Commerce to

establish an “All-Others” rate in the final results not based on rates including an

AFA component.

      11. On January 3, 2023 the Department issued its final results and caused

them to be published in the Federal Register on January 9, 2023. (Certain Quartz

Surface Products from India: Final Results of Antidumping Duty Administrative

Review; 2019-2021. 88 Fed. Reg. 1,188 (January 9, 2023).) Commerce lowered

the “all others” rate from the 161.56% rate calculated in the preliminary results,

opting to “pull forward” the 3.19% “all others” rate calculated in the original

investigation.

      12.    In electing to “pull forward” the “all others” rate calculated in the

underlying investigation, Commerce did not apply the appropriate export subsidy

offset that is required by statute. (19 U.S.C. §1677a(c).)

      13. On January 9, 2023, Arizona Tile, LLC and M S International, Inc and

PNS Clearance LLC submitted ministerial error comments. On January 10, 2023

plaintiffs submitted ministerial error comments. Both comments addressed the
         Case 1:23-cv-00029-N/A Document 7            Filed 02/21/23   Page 6 of 9

APB Trading, LLC et al v. United States
Court No 23-00029
February 21, 2023
Page 6

error to include the legally required export subsidy offset.

       14.   On January 24, 2023, Commerce rejected the ministerial error

allegation and issued a memorandum declining to take the export subsidy

adjustments into account. Antidumping Duty Administrative Review of Certain

Quartz Surface Products from India: Allegation of Ministerial Error (January 24,

2023).

                                      CLAIMS

                                   COUNT ONE

       15.   The allegations of paragraphs 1 through 14 are incorporated by

reference and restated as if fully set forth herein

       16.   Commerce has an obligation to calculate rates for the non-selected

companies using an expected method if the resultant rate is reasonably reflected of

the rates.

       17. The Department must calculate antidumping duty margins as accurately

as possible. Shandong Huarong General Corp. v. United States, 159 F. Supp. 2d

714, 719 (Ct. Int’l Trade 2001). The Department had three data points of calculated

rates – the two final rates from the investigation and the final rate not calculated on

an AFA basis from this review. The calculated rate from the investigation to the

administrative review for one mandatory respondent declined. A reasonable method
         Case 1:23-cv-00029-N/A Document 7            Filed 02/21/23   Page 7 of 9

APB Trading, LLC et al v. United States
Court No 23-00029
February 21, 2023
Page 7

needed to take into account all three of these rates and the decline in rates from the

investigation to the review would be the simple average of 2.61% prior to the

adjustment for the export subsidies

                                    COUNT TWO

      18.    The allegations of paragraphs 1 through 14 are incorporated by

reference and restated as if fully set forth herein

      19.    Commerce has a statutory obligation to adjust cash deposit rates to take

export subsidies into account. The Tariff Act of 1930, as amended, directs that

“{t}he price used to establish export price and constructed export price shall be

increased by . . . the amount of any countervailing duty imposed on the subject

merchandise . . . to offset an export subsidy.” 19 U.S.C. §1677a(c) (emphasis

added). The Federal Circuit has emphasized this obligation by highlighting that the

statute’s use of “shall” here is intentional and “generally creates ‘an obligation

impervious to judicial discretion.’” Changzhou Trina Solar Energy Co. v. United

States, 1975 F.3d 1318, 1328 (Fed. Cir. 2020)(citation omitted). Commerce’s

omission of the export subsidy offset from the All-Others’ cash deposit and

assessment rates constitutes a ministerial error because the All-Others rate from the

original investigation was not properly copied and duplicated into the Final Results

of this review. Commerce, thus, should have adjusted the Non-Selected Companies’
        Case 1:23-cv-00029-N/A Document 7       Filed 02/21/23    Page 8 of 9

APB Trading, LLC et al v. United States
Court No 23-00029
February 21, 2023
Page 8

cash deposit and assessment rates to account for export subsidy adjustments.

Commerce’s omission of the export subsidy offset from the Non-Selected

Companies’ cash deposit and assessment rates is not supported by substantial

evidence, and is otherwise contrary to law.

                            PRAYER FOR RELIEF

      WHEREFOR, the plaintiffs respectfully request that this Court enter

judgment as follows:

   1. Sustaining counts one to two of plaintiffs’ complaint;

   2. Remanding this matter to the Department of Commerce for issuance of a

      determination consistent with the decision of this court;

   3. Awarding attorney fees and costs; and
        Case 1:23-cv-00029-N/A Document 7      Filed 02/21/23   Page 9 of 9

APB Trading, LLC et al v. United States
Court No 23-00029
February 21, 2023
Page 9

   4. Providing such other relief as the court may deem just and appropriate.

                                            Respectfully submitted,

                                            /s/ David J. Craven

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                                          Cosmos Granite (South West) LLC;
                                          Curava Corporation; DivyaShakti
                                          Granites Limited; DivyaShakti
                                          Limited; Marudhar Rocks International
                                          PVT Ltd; Overseas Manufacturing and
                                          Supply Inc. d/b/a Merrimack Stone
                                          Industries; Quartzkraft LLP; and
                                          Stratus Surfaces LLC


Date February 21, 2023
